       Case 3:16-md-02741-VC Document 19284 Filed 09/23/24 Page 1 of 2




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER RE WAVE 7 DAUBERT
                                                   MOTIONS
   ALL WAVE 7 ACTIONS




       In accordance with the parties’ joint submission at Dkt. No. 19272, the motions listed

below are denied as moot in light of this Court’s prior causation rulings. Any arguments

contained in these motions are preserved for appeal.


          Dkt.     Expert Name              Case No(s).        Plaintiff Name
         No(s).
         18964 Allen, Irving              19-cv-05345       Eilmes, Kenneth
                                          19-cv-05957       Haase, Caryl Ann
                                          19-cv-05600       Hayden, Neal
                                          19-cv-06407       Huntley, Carol
         18950 Benbrook, Charles          21-cv-05971       Fleischhauer, Dieter
                                          19-cv-08064       Gannon, Jason
                                          21-cv-05398       Hayes, Robin
         18984 Boyd, Barry                20-cv-04746       Adams, III, Jesse R.
         18962 Conry, Robert              21-cv-00675       Boatright, Allen
                                          20-cv-01419       Collins, James
                                          20-cv-04834       Colton, Andrew
                                          20-cv-08167       Drons, Robert
                                          20-cv-08847       Fox, Susan
                                          21-cv-04928       Fritscher, Bryan
                                          19-cv-04606       Hoge, Merril
                                          19-cv-03539       McCaskill, Matthew
        Case 3:16-md-02741-VC Document 19284 Filed 09/23/24 Page 2 of 2




                                            20-cv-07219      McDermott, Michael
                                            20-cv-08801      Penalver, Jorge
                                            20-cv-05870      Rubin, Joel
                                            22-cv-00092      Sullivan, Patrick
                                            20-cv-05871      Tudal, Steven
         18987 Jameson, Charles             16-md- 02741     All Actions (Omnibus
               Portier, Christopher                          Motion)
               Ritz, Beate
         18968 Petty, Stephen               19-cv-04606      Hoge, Merril
         18949 Sawyer, William R.           20-cv-04746      Adams, III, Jesse R.
                                            21-cv-00675      Boatright, Allen
                                            20-cv-04834      Colton, Andrew
                                            21-cv-05971      Fleischhauer, Dieter
                                            19-cv-08064      Gannon, Jason
                                            21-cv-05398      Hayes, Robin
                                            20-cv-08053      Skonicki, Barbara
         18989 Schneider, Andrew            21-cv-08920      Denenberg, Doug
                                            21-cv-06764      Fisher, Marylnn
         18986 Weisenburger, Dennis         20-cv-08518      Daulton, Renee T.
                                            21-cv-09937      El-Hakam, Bakri
                                            16-cv-05786      Harris, Douglas
                                            20-cv-06194      Romano, Nathan P.
                                            19-cv-07858      Vander Groef, Chris
       The plaintiffs shall file their oppositions to the remaining Daubert motions by September

30, 2024. Monsanto shall file replies by October 14, 2024. The replies are not optional, and each

reply shall begin by listing each ground for exclusion asserted in the original motion, with

citation to the relevant part of the motion. To the extent Monsanto seeks to rely on any

arguments in its Omnibus brief to challenge Dr. Kristan Aronson or Dr. Martyn Smith, it shall

attach the relevant pages of that brief to its replies. Evidentiary hearings on all Wave 7 Daubert

motions will begin on November 1, 2024, at 10:00 a.m., with additional hearing dates to be

announced as needed. The Court will identify for the parties which (if any) experts should be

prepared to testify on November 1.

       IT IS SO ORDERED.

Dated: September 23, 2024
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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